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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
         v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                  Defendant.                      *
                                                  *

              GOVERNMENT’S REPLY TO DEFENDANT’S RESPONSE
        IN OPPOSITION TO GOVERNMENT’S PROPOSED TRIAL CALENDAR

       The Government submits this reply to aid the Court in setting a fair and prompt trial

schedule.     In service of a proposed trial date in 2026 that would deny the public its right to a

speedy trial, the defendant cites inapposite statistics and cases, overstates the amount of new and

non-duplicative discovery, and exaggerates the challenge of reviewing it effectively.          For the

reasons below, neither the discovery nor any other factor raised by the defense impedes a fair trial

on the schedule proposed by the Government.

       Comparisons to the Schedule of Other Cases

       The defendant’s references to Section 371 statistics and January 6th cases overlook

important underlying facts and context. See ECF No. 30 at 12. First, the defendant cites the

median time from commencement to termination for jury trials of Section 371 charges—29.4

months—without explaining that this median time runs through the completion of sentencing, not

the beginning of trial. That means that it includes the time required for jury selection, trial,

verdict, and several months (or more) afterward before sentencing and final judgment. See

https://www.uscourts.gov/sites/default/files/data_tables/jb_d10_0930.2022.pdf.         The question

here is when it is appropriate to start trial in this case, and statistics regarding the length of time

from indictment to sentencing in other Section 371 cases have no bearing on that decision.
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Second, the data cited by the defendant spans October 2021 through September 2022, when federal

courts were pulling out of a backlog caused by COVID-19 closures. During that period, only 22

cases went to trial nationwide. This small and skewed sample provides no help to the Court in

deciding an appropriate trial date.

       The defendant’s listed January 6th cases also omit important details and context. He fails

to mention, for instance, that in one case he cites, disposition was delayed because of, among other

reasons, litigation over pre-trial detention, a superseding indictment, and plea negotiations. See

United States v. Foy, 21-cr-108, ECF No. 55, Superseding Indictment (11/10/21); 2/7/22 Minute

Entry (setting jury trial for 9/19/22); ECF No. 67, Defendant’s Unopposed Motion to Vacate Trial

Date (for, among other reasons, plea negotiations). All of the defendant’s other cited cases

included multiple co-defendants—as many as seventeen. See United States v. Crowl, et al., 21-

cr-28 at ECF No. 328, Fifth Superseding Indictment. The Court should set these inapposite

comparisons aside when weighing the individual factors here under the Speedy Trial Act.

       Volume and Review of Discovery

       The Government respects the defendant’s need to review discovery and prepare for trial,

but his characterizations of the volume of discovery miss important facts. The majority, or

roughly sixty-five percent, of the Government’s first discovery production—in which the

Government front-loaded the most important materials—consists of materials to which the

defendant has functionally had access, are duplicative, or do not constitute Rule 16 discovery.

Approximately three million pages of the discovery—25% of the first production—come from

entities associated with the defendant. 1 Hundreds of thousands of other pages came from the



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         On August 19, 2023, the Government made a smaller, second discovery production,
consisting of approximately 615,000 pages or files. Approximately 20% of this production’s
volume was again generated by records from an entity associated with the defendant.


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National Archives—meaning that the defendant or his representatives reviewed them before the

Government received them—or are publicly available, including the defendant’s tweets, Truth

Social posts, campaign statements, and court papers involving challenges to the 2020 election by

the defendant or his allies.    Nearly one million more pages came from the House Select

Committee to Investigate the January 6th Attack on the United States Capitol, including hundreds

of transcripts of interviews or depositions, a majority of which are already public in redacted form.

See https://www.govinfo.gov/collection/january-6th-committee-final-report?path=/gpo/January%

206th%20Committee%20Final%20Report%20and%20Supporting%20Materials%20Collection/

Supporting%20Materials%20-%20Transcribed%20Interviews%20and%20Depositions/%7B%

22pageSize%22%3A%2250%22%2C%22offset%22%3A%220%22%7D.

       The first discovery production also included more than 100,000 pages of duplicative

material because the Government sought to produce it in an exceptionally organized, clear, and

user-friendly fashion. For example, if the Government obtained a record and then showed it to a

witness during an interview, the record would appear twice in discovery—first clearly linked to

the source from which the Government obtained it, and second in a clearly-marked witness

interview folder. In addition, the Government took on the task of providing the defense a set of

key, organized documents that the Government views as some of the most pertinent to its case-in-

chief. These include certain key grand jury transcripts and other exhibits cited in the indictment.

       In an abundance of caution and transparency, the Government also produced voluminous

materials that are not likely to fall under Rule 16, Brady, or Giglio, and which should not require

substantial time or attention from the defense team. For instance, the Government received from

the United States Secret Service approximately 3.1 million pages of material, including all emails

in a given time period for a number of custodians, generating a large number of irrelevant and




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duplicative records. The Government provided these materials in load-ready files so that the

defense can review them quickly in the same manner as the Government did—through targeted

keyword searches and electronic sorting.

       Indeed, the Government provided the discovery in organized, load-ready files for

importation to a searchable electronic database, with the understanding that the defense, consistent

with modern standard practice, will review discovery electronically rather than manually. The

defendant’s filing confirms that he intends to use a “document review database.” ECF No. 30 at

5. The defendant’s proposed trial date, however, rests on the faulty assertion that it is necessary

for a lawyer to conduct a page-by-page review of discovery for a defendant to receive a fair trial.

But the defendant can, should, and apparently will adopt the benefits of electronic review to reduce

the volume of material needed to be searched and manually reviewed. These methods include

efficient keyword searching and relevancy tagging by multiple simultaneous users, as well as date

filtering, deduplication, and threading—all of which services, and more, are offered by the

defendant’s e-discovery vendor, according to its own website, and are tools that courts

appropriately expect legal professionals to use.         See, e.g., Department of Justice and

Administrative Office of the U.S. Courts Joint Working Group on Electronic Technology in the

Criminal Justice System, Recommendations for Electronically Stored Information Discovery

Production in Federal Criminal Cases (Feb. 2012) at 4 (“[T]he volume of [electronically stored

information] in many cases may make it impossible for counsel to personally review every

potentially discoverable item, and, as a consequence, the parties increasingly will employ software

tools for discovery review . . . .”); Federal Judicial Center, Criminal e-Discovery: A Pocket Guide

for Judges (2015) at 11-12 (discussing the “critical” need in “any sizeable e-discovery case” for




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defense counsel to find “appropriately skilled expert assistance,” including for “strategically

collecting, processing, organizing, reviewing, analyzing, and presenting data”).

       The defendant also contends that the existence of classified discovery necessitates delay.

But this is not a case about classified information and the Government does not anticipate

introducing classified material in its case-in-chief. As the Government will explain during the

August 28 hearing under Section 2 of the Classified Information Procedures Act (“CIPA”), there

is no reason that the CIPA discovery process in this case cannot proceed quickly and in parallel

with the schedule proposed by the Government.

       In cases such as this one, the burden of reviewing discovery cannot be measured by page

count alone, and comparisons to the height of the Washington Monument and the length of a

Tolstoy novel are neither helpful nor insightful; in fact, comparisons such as those are a distraction

from the issue at hand—which is determining what is required to prepare for trial. To accomplish

that, the discovery should instead be measured by its relevance, organization, accessibility,

searchability, and reviewability. Here, the Government has organized and produced materials in

a manner designed to ease and expedite the defendant’s review and search, which allows for trial

to proceed as the Government has proposed.

       Scheduling

       The defendant contends that the Government’s proposed trial schedule conflicts with other

cases in which he is a civil or criminal defendant. The Government is confident that the Court

can and will, in this case as in any other, consider the parties’ proposals and its own calendar and

navigate around true conflicts. For example, the defense points out that the Government’s

proposal to start jury selection on December 11, 2023, conflicts with a motions hearing in his

criminal case in the Southern District of Florida. Such true conflicts are easily addressed—the




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Government now proposes instead that jury selection begin later during the week of December 11

to accommodate the hearing date in the Florida case.

        In addition, setting a schedule in this case with deadlines for various disclosures can

address many of the defendant’s other purported concerns. For instance, the Government agrees

with the defense suggestion, see ECF No. 30 at 8-9 n.7, that the Court may order the Government

to identify the exhibits sought to be introduced in its case-in-chief well in advance of trial. The

Government is prepared to do just that—and to comply with any other advanced deadline imposed

by the Court—to ensure that this case moves forward expeditiously and fairly. Through reasoned,

discretionary scheduling orders like these, the Court can fairly administer the prompt disposition

of this case.

                                                     Respectfully submitted,

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